           Case 2:22-cv-02313-DAD-CKD            Document 32-2       Filed 11/01/23    Page 1 of 3



 1
 2   A PROFESSIONAL CORPORATION
     William E. Camy, SBN 291397
 3   Matthew W. Gross, SBN 324007
     2180 Harvard Street, Suite 500
 4   Sacramento, CA 95815
 5   TEL: 916.929.1481
     FAX: 916.927.3706
 6   wcamy@porterscott.com
     mgross@porterscott.com
 7   Attorneys for Defendants
     COUNTY OF BUTTE AND BUTTE COUNTY SHERIFF KORY HONEA
 8
 9                                    UNITED STATES DISTRICT COURT
                             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     MICHAEL ERNEST MITCHUM JR.,                          Case No.: 2:22-cv-02313-DAD-CKD
13
                        Plaintiff,                        [PROPOSED] ORDER ON EX PARTE
14                                                        APPLICATION FOR EXTENSION OF TIME
     vs.                                                  FOR DEFENDANTS COUNTY OF BUTTE AND
15                                                        SHERIFF KORY L. HONEA TO FILE
     BUTTE COUNTY SHERIFF KORY HONEA;                     RESPONSIVE PLEADING TO PLAINTIFF’S
16   COUNTY OF BUTTE,                                     COMPLAINT

17                      Defendants,

18
                                                          Compl. Filed: 12/29/2022
                                                      /
19
              Defendants COUNTY OF BUTTE and SHERIFF KORY L. HONEA (“Defendants”) filed an Ex
20
     Parte Application for Extension of Time for Defendants to File Responsive Pleading to Plaintiff’s
21
     Complaint. Having reviewed the matter and considered the arguments of the parties, the Court rules as
22
     follows:
23
              GOOD CAUSE APPEARING THEREFORE, IT IS HEREBY ORDERED that:
24
              1.        The Ex Parte Application for Extension of Time is GRANTED.
25
              2.        Defendant’s Responsive Pleading to Plaintiff’s Complaint is due on November 29, 2023.
26
27
28
      {02058549.DOCX}
                                                   1
      [PROPOSED] ORDER ON EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF
         BUTTE AND SHERIFF KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
       Case 2:22-cv-02313-DAD-CKD     Document 32-2     Filed 11/01/23     Page 2 of 3



 1          IT IS SO ORDERED.
 2
 3   DATED: ______________                     _____________________________________
 4                                             United States Eastern District Judge
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     {02058549.DOCX}
                                                  2
     [PROPOSED] ORDER ON EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF
        BUTTE AND SHERIFF KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
        Case 2:22-cv-02313-DAD-CKD                     Document 32-2            Filed 11/01/23          Page 3 of 3


     CASE NAME: Mitchum v. Butte County, et al.
 1
     CASE NO.: Eastern District of CA Case No. 2:22-cv-02313
 2
                                                PROOF OF SERVICE
 3
             I am a resident of the United States and of the County, of Sacramento, California. I am over the
 4   age of eighteen years and not a party to the within above-entitled action. My business address is 2180
     Harvard Street, Suite 500, Sacramento, California.
 5           I am familiar with this Company's practice whereby the mail, after being placed in a designated
     area, is given the appropriate postage and is deposited in a U.S. mailbox in the City of Sacramento,
 6
     California, after the close of the day's business.
 7           That on the date below, I served the following: [PROPOSED] ORDER ON EX PARTE
     APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF BUTTE AND
 8   SHERIFF KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S
     COMPLAINT on all parties in the said action as addressed below by causing a true copy thereof to be
 9   served:

10
         XX      BY MAIL: I placed the envelope for collection and mailing, following our ordinary business practices. I
11               am readily familiar with this business’ practice for collecting and processing correspondence for mailing.
                 On the same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
12               course of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
                 □ Certified Mail/Return Receipt Requested, Article #
13               BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or package provided by an
                 overnight delivery carrier and addressed to the person(s) listed below. I placed the envelope or package
14               for collection and overnight delivery at my office or a regularly utilized drop box of the overnight delivery
                 carrier.
15               BY ELECTRONIC SERVICE: Based on a court order or an agreement of the parties to accept service
                 by electronic transmission, I caused the documents to be sent to the persons at the electronic notification
16               address listed below.

17
     Addressed as follows:
18   Pro Per
     Michael Mitchum #166925
19   Butte County Jail
20   7 Gillick Way
     Oroville, CA 95965
21
             I declare under penalty of perjury under the laws of the State of California that the foregoing is
22
     true and correct. Executed at Sacramento, California on November 1, 2023.
23
24
                                                                    ___________________________________
25
                                                                    Kristena Champlin
26
27
28
      {02058549.DOCX}
                                                   3
      [PROPOSED] ORDER ON EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF
         BUTTE AND SHERIFF KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
